  Case 3:17-cv-00198-LAB-WVG Document 66 Filed 06/19/18 PageID.2072 Page 1 of 1


                                  United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA

                            NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Larry Alan Burns
 FROM: L. Cervantes, Deputy Clerk                     RECEIVED DATE: June 12, 2018
 CASE NO. 17-cv-00198-LAB-WVG                         DOC FILED BY: Tiffany Dehen
 CASE TITLE: Dehen v. Doe et al
 DOCUMENT ENTITLED: Plaintiff's Notice of Motion and Motion to File Supplement Declaration
 to Plaintiff's Reply to Defendants' Motions to Dismiss

        Upon the submission of the attached document(s), the following discrepancies are noted:


 Surreplies are viewed with disfavor and rarely allowed. When they are, the movant needs to ask for
 leave, and, explain why it’s necessary. Dehen hasn’t asked for leave to file a surreply, nor explained
 why one is necessary. See Garcia v. Biter, 195 F. Supp. 3d 1131, 1134 (E.D. Cal. 2016) (rejecting
 pro se litigants’ motion for leave to file surreply).

                                                            Date Forwarded:      June 15, 2018

                   ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:
 ☐ The document is to be filed nunc pro tunc to date received.
     The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☒
     serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes. Court copy retained by chambers ☐
          Any further failure to comply with the Local Rules may lead to penalties pursuant to
                           Civil Local Rule 83.1 or Criminal Local Rule 57.1.

Date: June 19, 2018                     CHAMBERS OF: The Honorable Larry Alan Burns

cc: All Parties                              By:
